     Case 2:18-cv-05934-MWF-KS Document 11 Filed 10/15/18 Page 1 of 5 Page ID #:23

 Name and address:

                      RUSS AUGUST & KABAT
                Benjamin T. \Vang, State Bar No. 228712
                 12424 \Vilshire Boulevard, 12th Floor
                     Los Angeles, California 90025

                                                UNITED STATES DISTRICT COURT
                                               CENTRALDISTRICT OF CALIFORNIA

                                                                               CASE NUMBER
 OX I.ABSINC.
                                                            Plaintiff(s),                           2: I 8-cv-05934-MWF-KS

                   V.
                                                                                 APPLICATION OF NON-RESIDENT ATTORNEY
 BITPAY, INC.                                                                         TO APPEAR IN A SPECIFIC CASE
                                                         Defendant(s),                        PROHACVICE
INSTRUCTIONS FOR APPLICANTS
(I) The a//omey seeking to appear pro /we vice must complete Sectio11I of this Applicatio11,perso11allysign, i11i11k,the certificationi11
    Section II, and have the rlesig11atedLocal Co1111sel
                                                       sig11i11Sectio11lll. ELECTRONIC SJGN1\TURESARE NOT 1\CCEPTED. Space to
    supple111ent responsesis provided i11Section 1\1. The applica111must also a/Inch a Certificateof Good Sta11rli11g
                                                                                                                    (issued within the last 30
    days)from eve1ystate bar to ll'hichhe or she is ad111it1ed;     failure to do so ll'illbegroundsfor rle11yi11g  the Applicatio11.Scan the
    co111pl
          eterl Application ll'ith its original ink signature, together ll'ith any a1tac/1111e11t(s),to a single Portable Document Format (PDF)file.
(2) Have the desig11at  ed Local Co1111se/ file the Application e/ectro11ically  11si11gthe Court's CM/ECF System ("1Wotio11s      a11rlRelated Fili11gs
    => Applicatio11s / Ex Parle Applicatio11s  /Afotio11s/Petitio11s/Requests => Appear Pro I lac \lice (G-64)"), a/Inch a ProposedOrder (11si11g
    Form G-6,JORDER, availablefrom the Court's ll'ebsite), a11rl         pay the required $1/00 fee 011li11e at the ti111e
                                                                                                                         offili11g(11si11g
                                                                                                                                         a credit card).
    The fee is requiredfor each case i11ll'hich the applica111  fi les a11Applicatio11.Failureto pay thefee at the time offili11gwill be gro1111ds   for
    de11yi11gthe Applicatio11  . Out-of-state federal go1•er11111e11t attomeys are 11otrequired to pay the S400 fee. (Certain atlom eysfor the
    U11itedStates are also exempt from the requirement of applyi11gforpro II/levicestatus. See L. R. 83-2.1A.) A copy of the G-64 ORDER i11
    Word or WorrlPe1fe    ct format must be emailed to the generic chamberse111ail         address. L.R. 5-4.'l.2.
SECTION I - INFORMATION
 Kunin , Lawrence, H.
 Applica11t'sName (Last Name, First Na111e
                                         & Middle foitial)                                            check here iffederal govemme11ta/lomey       •
 MORRIS, MANNING & MARTIN, LLP
 Fin11/Age11
          cy Name
 1600 Atlanta Financial Center                                              ( 404) 504-5419                        (404) 365-9532
 3343 Peachtree Road, NE                                                    TelephoneNumber                        Fax Number
 Street Address
 Atlanta, GA 30326                                                                                lkunin @mmmlaw.com
 City, State, Z ip Corle                                                                                E-111ai/
                                                                                                              Address

I have been retained to represent the following parties:
 BITPAY, INC.                                                               D Plai11tiff(s)IR] Defe11rla11
                                                                                                       t(s) D     Other:
                                                                                                                           ----        ---       --
                                                                            • P/ai11tiff(s) D Defe11rla11t(s)D    Other:
                                                                                                                           - - - ------
 Na111e(s)
        of Party(ies) Represe11t
                               erl

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional informati on.

                   Name o( Courl                           Date o(Arlmissio11          Active ,Wemberi11Good Sta11di11g?
                                                                                                                      (i{not. pleaseexplai11
                                                                                                                                           )
 U.S. Supreme Court                                        August I 6, I 999          Yes
 Northern District of Florida                               Januat)' 3, 2008          Yes
 Northern District of Georgia                                July 30, 2001            Yes

G-6 4 (07/18)              APPLICATION     or NON-RESIDENT     ATTORNEY TO APPEAR IN,\ SPECIF IC CASE PRO IUC VI CE                          Page I of3
      Case 2:18-cv-05934-MWF-KS Document 11 Filed 10/15/18 Page 2 of 5 Page ID #:24


SECTION III - DESIGNATION OF LOCAL COUNSEL

Wang, Benjamin T.
Desig11ee's
         Nn111e(Lnst Nn111e,
                          First Nn111e& 1'.·fiddlel11itinl
                                                         )
Russ August & Kabat
 fir111/Age11cy
             Nm11e
 12424 Wilshire Boulevard                                          (3 10) 826- 7474                      (310) 826-6991

 12th Floor                                                        Telepho11eN11111ber                   fnx N11111ber
Street Address                                                     bwang@raklaw.com

Los Angeles, California 90025                                      E-111nil
                                                                         Address
City, Stnte, Z ip Code                                             228712
                                                                   Desig11ee's
                                                                            Cnlifomin Stnte Bnr N11111ber

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjur)' that I maintain an office in the
Central District of California for the practice of law,

                Dated October 15, 2018




SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  Court                                              Admission Date                   Active Member in Good Standing

  Southern District of Florida                      October 24, 1995                  Yes
  Middle District of Florida                        August 22, 1995                   Yes
  Middle District of Georgia                        January 23, 2009                  Yes
  Eastern District of Michigan                      February 24, 2014                 Yes
  U.S. 10th Cir cuit Court of Appeals               May 2, 2005                       Yes
  U.S. 11th Circuit Court of Appeals                August 3, 2004                    Yes
  U. S. 9th Circuit Court of Appeals                November 18, 2016                  Yes
  All Florida State Courts                          May 1995                          Yes
  All Georgia State Courts                          October 2000                      Yes




G -64 (07/18)              APPi.i CATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO IMC \'ICE                    Page 3 of 3
  Case 2:18-cv-05934-MWF-KS Document 11 Filed 10/15/18 Page 3 of 5 Page ID #:25



 List all cases in which the applicant has applied to this Court for pro hac vice statu s in the previous three years (continue in Section IV if
 needed):
         Ct1seN11111ber                                 Title o{Actio11                                                        Grcwt cd/ Dl'llit' tl?




Has the applicant previously registered as a CM/ECF user in the Central District of California?              ~   Yes       0   No
If yes, was the applicant's CM/ECF User account associated with the e-mail address provided above?           ~   Yes       0   No


                                                                                                 PreviousE-111ail
                                                                                                               Used(if applicable)

Attorneys must be registeredfor tire Court's Case Ma11age111ent/E/ect    ro11i
                                                                             c Case Filing("CM/ECF'')System to be admitted to practicepro /1<1c
vice i11t/ris Court, S11bmissio11
                                of tlris Application will co11stitut
                                                                   e your registration(or re-registration)as a CM/ECF User.If tireCourtsigns a11
Ordergra11tingyour Applicatio11,yo H will either be ismed a 11     ew CM/ECF login a11dpassword,or tire existing acco1111t yo11identified above
will be associatedwith yo ur case. P11rsi1<111t
                                              to LocalRule 5-3.2.3, registeringas a CM!ECFUseris deemed co11se11t.Jor    purposesof Fed,R. Civ.
P. S(b)(2)(E), lo electronic service of dornme11tstlrro11glr   tire CM/ECF System. Yo11/rave tire rig/rt to witlrlroldor revoke yo11rconsent to
electronicsen,iceat a11ytime; simply complete a11dret11rna Ce11tralDistrict ElectronicServiceExemption Form (Form G-05, availablefrom
tire Co11rt'swebsite).If tire Court receives an Electronic ServiceExemption Form from you, yo11will 110 longer receivenotice by e-mail wlren
Court orders or other documents are filed ill cases i11whiclryou are counsel of record; instead, copies of suclrdocuments will be sent to yo11
through tiremail,

SECl'ION II - CERTIHCATJON:
I declare under penalty of perjury that:
(I) All of the above information is true and correct.
(2) I am not a resident of the State of California, I am not regularly employed in, or engaged in substantial business,
    profe ssional, or other activities in the State of California.
(3) I am not currently suspend ed from and have never been disbarred from practice in any court.
(4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and Criminal Pro cedure,
    and the Federal Rules of Evidence.
(5) I designate the attorney listed in Section III below, who is a membe r in good standing of the Bar of this Court and
    maintains an office in the Centra l Distric t of California for the practice of law, as local counsel purs uant to Local
    Rule 83-2.1.3.4.


               Dated   _ /O/J-'--1~
                              )'-'-
                                 ! _,,__(
                                      _   _                            Lawrence H. Kunin
                                                                       Applicant'sNnme ( case type or print)

                                                                      ~           -'-,'
                                                                                  ~#-
                                                                       Applin 111t'
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                                                                                s Sig11at11re
                                                                                                            -          -
G-64 (07/18)                APPLICATION OP NON-RESIDENT ATTOR NEY TO APPEAR IN A SPECll'IC CASE PRO HA C VICE                             Page 2 of3
   Case 2:18-cv-05934-MWF-KS Document 11 Filed 10/15/18 Page 4 of 5 Page ID #:26




                                        The Florida Bar
                                           651 East Jefferson Street
                                          Tallahassee, FL 32399-2300
    .Joshua E. Doyle                                                                 850/561-5600
   Executive Director                                                           \\'WW.FLORIUAIJAR.org

 State of Florida       )
 County of Leon                                  In Re: 0050210
                                                        Lawrence Hugh Kunin
                                                        Morris Manning & Martin 3343 Peachtree Rd NE
                                                        Ste 1600
                                                        Atlanta, GA 30326-1429
I CERTIFY THE FOLLOWING:

I am the custodian of membership records of The Florida Bar.

Membership records of The Florida Bar indicate that The Florida Bar member listed above was admitted to
practice law in the state of Florida on May 16, 1995.

The Florida Bar member above is an active member in good standing of The Florida Bar who is eligible to
practice law in the state of florida.

Dated this 4th day of October , 2018.




Pam Gerard, Manager
Membership Records Dept.
The Florida Bar

PG:RI0
CTM-24336
          Case 2:18-cv-05934-MWF-KS Document 11 Filed 10/15/18 Page 5 of 5 Page ID #:27

D           State Bar
E.!         of Georgia
                                                                                  Lawyer s Ser ving the Publi c and the J us ti ce System



            Mr. Lawrence Hugh Kunin
            Morris Manning & Martin LLP
            1600 Atlanta Financial Center
            3343 Peachtree Road NE
            Atlanta, GA 30326




            CURRENT STATUS:                      Active Member-Good Standing
            DATE OF ADMISSION:                   10/31/2000
            BAR NUMBER:                          430333
            TODAY'S DATE:                        10/04/2018




            The prerequisites for practicing law in the State of Georgia are as follows:


                 •    Certified by the Office of Bar Admissions, either by Exam, or on Motion (Reciprocity).
                 •    Sworn in to the Superior Court in Georgia, highest court required to practice law in Georgia.
                 •    Enrolled with the State Bar of Georgia, administrative arm of the Supreme Court of Georgia.




           This member is currently in "good standing" as termed and defined by State Bar Ruic 1-204. The member is
           current in license fees and is not suspended or disbatTed as of the date of this letter.




                                                     STATE BAR OF GEORGIA

                                                           -.d.Aivdt<-
                                                                   ~lltl~
                                                  Official Representative of the State Bar of Georgia




         HEADQUARTERS                                    COASTAL GEORGI.A OfflCE                              SOUTl1 GEORGIA OfflCE
 104 Mari etta St. N\V, Suit e I 00                               18 E. Bay 5 1.                                244 E. 2 nd St. (31794)
   1\tl an la, GJ\ 30303 -2743                            Savanna h, GA 3 1401 -1225                                   P.O. Box 1390
404- 5 27-8700 • 800 -334 -6865                         9 12-239 -99 10 • 877-239-9910                          Ti fto n, GA 31793 - "1390
         Fax 404 -527 -8717                                    Fax 9 12-239-9970                            229-387-0446 • 800-330 -0446
          www.gaba r.org                                                                                            Fax 229-382- 7435
